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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

JARROD JOHNSON individually,
and on behalf of a class of persons
similarly situated,

      Plaintiff,

v.                                            Case No. 4:20-cv-00008-AT

3M Company, et. al.,
     Defendants

DEFENDANT INVISTA’S AFFIRMATIVE AND OTHER DEFENSES AND
 ANSWER TO PLAINTIFF’S FOURTH AMENDED INDIVIDUAL AND
               CLASS ACTION COMPLAINT

      Defendant INV Performance Surfaces, LLC (“INVISTA”), by counsel, states

as follows for its Affirmative and Other Defenses and Answer to Plaintiff’s Fourth

Amended Individual and Class Action Complaint (the “FAC”):

                    AFFIRMATIVE AND OTHER DEFENSES

      INVISTA asserts the following affirmative and other defenses to the FAC, but

does not assume the burden of proof on any such defense except as required by

applicable law with respect to the particular defense asserted:

                                FIRST DEFENSE

      The FAC, and each Count therein, fails to state a claim upon which relief

can be granted against INVISTA and should be dismissed.

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                                 SECOND DEFENSE

      Plaintiff and putative class members lack standing with respect to one or

more claims asserted in the FAC and one or more forms of relief sought.

                                 THIRD DEFENSE

      Plaintiff’s and putative class members’ claims against INVISTA are barred,

in whole or in part, by the applicable statute of limitations, and their alleged

damages are barred to the extent they were incurred outside of the applicable

statute of limitations period.

                                 FOURTH DEFENSE

      Plaintiff’s and putative class members’ claims against INVISTA are barred,

in whole or in part, by any applicable statute or rule of repose.

                                 FIFTH DEFENSE

      Plaintiff’s and putative class members’ claims against INVISTA are barred

by the doctrines of waiver, estoppel, laches, and/or unclean hands.

                                 SIXTH DEFENSE

      INVISTA did not owe Plaintiff or any putative class member any duty of care,

as decided in the September 20, 2021 Order from this Court granting in part

INVISTA’s Motion to Dismiss.




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                             SEVENTH DEFENSE

      INVISTA asserts that it complied with the state of the art during all relevant

time periods.

                              EIGHTH DEFENSE

      INVISTA asserts that Plaintiff’s and putative class members’ alleged injuries

and damages, if any, were not caused by INVISTA.

                               NINTH DEFENSE

      INVISTA pleads that there can be no recovery against it because Plaintiff’s

and putative class members’ injuries, if any, were caused by the superseding and

intervening negligence of third parties over whom INVISTA had no right of control

and for which INVISTA has no liability.

                               TENTH DEFENSE

      INVISTA asserts that Plaintiff’s and putative class members’ injuries, if any,

were caused in whole or in part by Plaintiff’s and putative class members’

contributory or comparative negligence and/or assumption of the risk.

                            ELEVENTH DEFENSE

      INVISTA asserts that Plaintiff’s and putative class members’ alleged injuries

were not foreseeable.




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                              TWELFTH DEFENSE

      Plaintiff’s and putative class members’ injuries or damages, if any, were

caused in whole or in part by the abuse, misuse, alteration, or modification of

products or materials in a way which was not intended and was not reasonably

foreseeable.

                            THIRTEENTH DEFENSE

      Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the economic loss doctrine.

                            FOURTEENTH DEFENSE

      Plaintiff and putative class members are not entitled to injunctive or equitable

relief against INVISTA, as they have an adequate remedy at law.

                             FIFTEENTH DEFENSE

      INVISTA denies that Plaintiff and putative class members have been

damaged in the manner or to the extent alleged in the FAC.

                             SIXTEENTH DEFENSE

      Some or all of the damages sought in the FAC constitute impermissible double

recovery for the alleged injuries.




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                           SEVENTEENTH DEFENSE

      INVISTA asserts that Plaintiff’s and the putative class members’ claim for

punitive damages is subject to the limitations cap, and the legal protections,

contained in O.C.G.A. §51-12-1, et seq.

                              EIGHTEENTH DEFENSE

      Plaintiff’s and the putative class members’ claim for punitive damages is

barred by the Georgia and/or United States Constitution.

                              NINETEENTH DEFENSE

      Plaintiff’s and the putative class members’ claims are barred, in whole or in

part, by their failure to mitigate damages.

                              TWENTIETH DEFENSE

      Plaintiff failed to join one or more indispensable parties.

                           TWENTY-FIRST DEFENSE

      Plaintiff’s and the putative class members’ claims are barred, in whole or in

part, by the bulk supplier and sophisticated user doctrines.

                         TWENTY-SECOND DEFENSE

      Plaintiff’s and the putative class members’ claims are preempted by

applicable federal statutes and regulations pursuant to the Supremacy Clause of the

United States Constitution.


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                           TWENTY-THIRD DEFENSE

       Plaintiff’s and the putative class members’ claims for injunctive relief are

barred by the doctrine of primary jurisdiction.

                          TWENTY-FOURTH DEFENSE

       INVISTA asserts all rights of set-off and/or credit for all amounts Plaintiff

and the putative class members have received, or may receive, in settlement or

judgment from other entities, regardless of whether they were made parties to this

suit. INVISTA also asserts the affirmative defenses of satisfaction, payment, and

release.

                           TWENTY-FIFTH DEFENSE

       INVISTA reserves any actions for contribution or indemnity against parties

or third parties.

                           TWENTY-SIXTH DEFENSE

       Plaintiff and the putative class members cannot recover for public nuisance

because they cannot demonstrate that they suffered special harm.

                         TWENTY-SEVENTH DEFENSE

       INVISTA is not liable for public nuisance because it did not exercise control

over the alleged nuisance.




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                         TWENTY-EIGHTH DEFENSE

      Plaintiff’s and the putative class members’ claims are barred in their entirety

by the Public Services Doctrine

                          TWENTY-NINTH DEFENSE

      Plaintiff’s and the putative class members’ claims against INVISTA are

barred by Georgia’s innocent seller doctrine.

                             THIRTIETH DEFENSE

      Plaintiffs’ and putative class members’ claims are barred by the doctrines of

res judicata and collateral estoppel.

                            THIRTY-FIRST DEFENSE

      This action is not appropriate for class certification and Plaintiff and putative

class members cannot establish the essential requirements for class certification

consistent with Federal Rule of Civil Procedure 23 and the applicable case law.

                          THIRTY-SECOND DEFENSE

      INVISTA adopts and incorporates herein by reference any applicable

affirmative defense asserted by any other Defendant in this action.

      The above affirmative and other defenses are based on the facts and

information currently known to INVISTA. INVISTA reserves the right to amend or

add defenses or affirmative defenses to which it may be entitled under the United


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States and Georgia Constitutions or any federal, state or common law and/or which

are based on facts later discovered, pleaded, or offered.

                                     ANSWER

      Subject to and without waiving the defenses raised in its Motion to Dismiss

or Affirmative and Other Defenses, INVISTA responds to Plaintiff’s FAC as

follows:

      Plaintiff uses the term “PFAS” throughout the FAC to categorically refer to

an extremely broad group of individual chemicals, each one of which has unique

characteristics and properties. As a result, the term is vague, ambiguous, and

susceptible to multiple meanings as used in the FAC. Without a more specific

definition, INVISTA lacks the knowledge or information necessary to form a belief

as to any allegation that incorporates the term “PFAS” and therefore denies those

allegations.

                          STATEMENT OF THE CASE

      1.       The allegations contained in Paragraph 1 of the FAC are not directed

against INVISTA, and further, Paragraph 1 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA denies

Paragraph 1 of the FAC with respect to any allegations that purport to extend to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining


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allegations contained in Paragraph 1 of the FAC, and, therefore, denies those

allegations.

      2.       INVISTA denies the allegations in Paragraph 2 of the FAC to the extent

they relate to INVISTA. INVISTA further denies that a class is legally permissible

or appropriate.      INVISTA lacks sufficient information to admit or deny the

remaining allegations contained in Paragraph 2 of the FAC, and, therefore, denies

those allegations.

      3.       INVISTA denies the allegations in Paragraph 3 of the FAC to the extent

they relate to INVISTA. INVISTA lacks sufficient information to admit or deny the

remaining allegations contained in Paragraph 3 of the FAC, and, therefore, denies

those allegations.

      4.       The allegations of Paragraph 4 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

admits that it previously operated a facility located at 745 College Dr., Dalton,

Georgia, 30720, which primarily performed testing of products marketed for the

carpet industry. INVISTA denies that the facility is a “manufacturing facility” and

denies all allegations of Paragraph 4 that are based on the assumption that the facility

is a “manufacturing facility.” INVISTA admits that from approximately 2008 until


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approximately January 2019, INVISTA supplied soil resist topical formulations to

certain customers in or around Dalton, Georgia that contained a C6 fluorochemical-

containing additive, purchased from third parties, as a small percentage of the total

topical formulation. INVISTA denies the remaining allegations in Paragraph 4 of

the FAC to the extent they relate to INVISTA.            INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 4 of

the FAC, and, therefore, denies those allegations.

      5.     The allegations of Paragraph 5 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

further denies Paragraph 5 of the FAC with respect to any allegations that purport to

extend to INVISTA. INVISTA lacks sufficient information to admit or deny the

remaining allegations contained in Paragraph 5 of the FAC, and, therefore, denies

those allegations.

      6.     INVISTA denies the allegations contained in Paragraph 6 of the FAC

as they relate to INVISTA, and denies that Plaintiff and any putative class members

have suffered damages or are entitled to the relief stated in Paragraph 6 of the FAC

against INVISTA. INVISTA lacks sufficient information to admit or deny the




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remaining allegations contained in Paragraph 6 of the FAC, and, therefore, denies

those allegations.

                         JURISDICTION AND VENUE

      7.     The allegations contained in Paragraph 7 of the FAC are not directed

against INVISTA, and further, Paragraph 7 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 7 of

the FAC, and, therefore, denies those allegations.

      8.     The allegations contained in Paragraph 8 of the FAC are not directed

against INVISTA, and further, Paragraph 8 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 8 of

the FAC and the referenced exhibits, and, therefore, denies those allegations.

      9.     The allegations contained in Paragraph 9 of the FAC are not directed

against INVISTA, and further, Paragraph 9 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 9 of

the FAC, and, therefore, denies those allegations.




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      10.    INVISTA denies that Plaintiff served it with any notice along the lines

of that described in Paragraph 10 of the FAC. INVISTA lacks sufficient information

to admit or deny the remaining allegations contained in Paragraph 10 of the FAC,

and, therefore, denies those allegations.

      11.    The allegations contained in Paragraph 11 of the FAC are not directed

against INVISTA, and therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 11 of the FAC, and, therefore, denies those allegations.

      12.    The allegations contained in Paragraph 12 of the FAC are not directed

against INVISTA, and further, Paragraph 12 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 12 of

the FAC, and, therefore, denies those allegations.

      13.    Paragraph 13 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate, that Plaintiff or any putative class members are

entitled to recover any amount, and that Plaintiff or putative class members are

entitled to any of the relief sought. INVISTA lacks sufficient information to admit




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or deny the allegations contained in Paragraph 13 of the FAC, and, therefore, denies

those allegations.

      14.      Paragraph 14 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA admits that it has

conducted certain business in this District during certain time periods but otherwise

denies the allegations in Paragraph 14 of the FAC to the extent they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 14 of the FAC, and, therefore, denies those

allegations.

                                     PARTIES

      15.      The allegations of Paragraph 15 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations in Paragraph 15 of the FAC to the extent they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 15 of the FAC, and, therefore, denies those

allegations.

      16.      The allegations contained in Paragraph 16 of the FAC are not directed

against INVISTA, and further, Paragraph 16 contains legal conclusions. Therefore,


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no response is required. To the extent a response is required, INVISTA denies the

allegations contained in Paragraph 16 of the FAC to the extent they purport to relate

to INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 16 of the FAC, and, therefore, denies those

allegations.

      17.      The allegations contained in Paragraph 17 of the FAC are not directed

against INVISTA, and further, Paragraph 17 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 17 of

the FAC, and, therefore, denies those allegations.

      18.      The allegations contained in Paragraph 18 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 18 of the FAC, and, therefore, denies those allegations.

      19.      The allegations contained in Paragraph 19 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 19 of the FAC, and, therefore, denies those allegations.




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      20.   The allegations contained in Paragraph 20 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 20 of the FAC, and, therefore, denies those allegations.

      21.   The allegations contained in Paragraph 21 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 21 of the FAC, and, therefore, denies those allegations.

      22.   The allegations contained in Paragraph 22 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 22 of the FAC, and, therefore, denies those allegations.

      23.   The allegations contained in Paragraph 23 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 23 of the FAC, and, therefore, denies those allegations.

      24.   The allegations contained in Paragraph 24 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response




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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 24 of the FAC, and, therefore, denies those allegations.

      25.   The allegations contained in Paragraph 25 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 25 of the FAC, and, therefore, denies those allegations.

      [Unnumbered Paragraph] The allegations contained in the Unnumbered

Paragraph following Paragraph 25 of the FAC are not directed against INVISTA,

and, therefore, no response is required. To the extent a response is required,

INVISTA admits that Daikin supplied INVISTA with a C6 fluorochemical-

containing additive during certain periods of time. INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in this

Unnumbered Paragraph of the FAC, and, therefore, denies those allegations.

      26.   The allegations contained in Paragraph 26 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 26 of the FAC, and, therefore, denies those allegations.

      27.   The allegations contained in Paragraph 27 of the FAC are not directed

against INVISTA, and further, Paragraph 27 contains legal conclusions. Therefore,


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no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 27 of

the FAC, and, therefore, denies those allegations.

      28.    The allegations contained in Paragraph 28 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 28 of the FAC, and, therefore, denies those allegations.

      29.    The allegations contained in Paragraph 29 of the FAC are not directed

against INVISTA, and further, Paragraph 29 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 29 of

the FAC, and, therefore, denies those allegations.

      30.    The allegations contained in Paragraph 30 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 30 of the FAC, and, therefore, denies those allegations.

      31.    The allegations contained in Paragraph 31 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA admits that DuPont supplied INVISTA and certain other


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defendants with certain fluorochemistries during certain periods of time. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 31 of the FAC, and, therefore, denies those allegations.

      32.   The allegations contained in Paragraph 32 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 32 of the FAC, and, therefore, denies those allegations.

      33.   The allegations contained in Paragraph 33 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 33 of the FAC, and, therefore, denies those allegations.

      34.   The allegations contained in Paragraph 34 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 34 of the FAC, and, therefore, denies those allegations.

      35.   The allegations contained in Paragraph 35 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 35 of the FAC, and, therefore, denies those allegations.


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      36.    The allegations of Paragraph 36 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

admits that it is registered to do business in Georgia as a foreign limited liability

company. INVISTA further admits that it operated a facility located at 745 College

Dr., Dalton, Georgia, 30720 beginning in 2004. However, INVISTA denies that the

facility is a “fiber manufacturing facility” or any other kind of “manufacturing

facility” and denies all allegations of Paragraph 36 that are based on the assumption

that the facility is a “manufacturing facility.” INVISTA admits that it was spun off

from DuPont in 2004 and that INVISTA owned the StainMaster brand from 2004

through April 2021. INVISTA denies that it ever manufactured PFAS. INVISTA

admits that from approximately 2008 until approximately January 2019, INVISTA

supplied soil resist topical formulations to certain customers in or around Dalton,

Georgia that contained a C6 fluorochemical-containing additive, purchased from

third parties, as a small percentage of the total topical formulation. INVISTA denies

the remaining allegations in Paragraph 36.

      37.    The allegations contained in Paragraph 37 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response




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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 37 of the FAC, and, therefore, denies those allegations.

      38.   The allegations contained in Paragraph 38 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 38 of the FAC, and, therefore, denies those allegations.

      39.   The allegations contained in Paragraph 39 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 39 of the FAC, and, therefore, denies those allegations.

      40.   The allegations contained in Paragraph 40 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 40 of the FAC, and, therefore, denies those allegations.

      41.   The allegations contained in Paragraph 41 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 41 of the FAC, and, therefore, denies those allegations.




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      42.   The allegations contained in Paragraph 42 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 42 of the FAC, and, therefore, denies those allegations.

      43.   The allegations contained in Paragraph 43 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 43 of the FAC, and, therefore, denies those allegations.

      44.   The allegations contained in Paragraph 44 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 44 of the FAC, and, therefore, denies those allegations.

      45.   The allegations contained in Paragraph 45 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 45 of the FAC, and, therefore, denies those allegations.

      46.   The allegations contained in Paragraph 46 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response




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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 46 of the FAC, and, therefore, denies those allegations.

      47.   The allegations contained in Paragraph 47 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 47 of the FAC, and, therefore, denies those allegations.

      48.   The allegations contained in Paragraph 48 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA admits that Chemours supplied INVISTA with a C6

fluorochemical-containing additive during certain periods of time. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 48 of the FAC, and, therefore, denies those allegations.

      49.   The allegations contained in Paragraph 49 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 49 of the FAC, and, therefore, denies those allegations.




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                          FACTUAL ALLEGATIONS

[Alleged] Background and Hazards of PFAS

      50.   The allegations of Paragraph 50 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

admits that it previously operated a facility located at 745 College Dr., Dalton,

Georgia, 30720, which primarily performed testing of products marketed for the

carpet industry. INVISTA denies that the facility is a “manufacturing facility” and

denies all allegations of Paragraph 50 that are based on the assumption that the

facility is a “manufacturing facility.” INVISTA admits that from approximately

2008 until approximately January 2019, INVISTA supplied soil resist topical

formulations to certain customers in or around Dalton, Georgia that contained a C6

fluorochemical-containing additive, purchased from third parties, as a small

percentage of the total topical formulation.     INVISTA denies the remaining

allegations contained in Paragraph 50 of the FAC as they relate to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 50 of the FAC, and, therefore, denies those allegations.

      51.   The allegations of Paragraph 51 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to


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admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 51 of the FAC, and, therefore, denies those allegations.

      52.   The allegations of Paragraph 52 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 52 of the FAC, and, therefore, denies those allegations.

      53.   The allegations of Paragraph 53 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 53 of the FAC, and, therefore, denies those allegations.

      54.   The allegations of Paragraph 54 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the remaining allegations contained in Paragraph 54 of the FAC.

      55.   The allegations of Paragraph 55 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to


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admit or deny those allegations, and, therefore, denies those allegations. The C8

Science Panel’s review and conclusions speak for themselves, and INVISTA denies

any allegation inconsistent with their terms. INVISTA lacks sufficient information

to admit or deny the remaining allegations contained in Paragraph 55 of the FAC,

and, therefore, denies those allegations.

      56.    The allegations of Paragraph 56 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. The C8

Science Panel’s review and conclusions speak for themselves, and INVISTA denies

any allegation inconsistent with their terms. The United States Environmental

Protection Agency (“EPA”) Science Advisory Board expert committee’s

recommendation in 2006 regarding PFOA speaks for itself, and INVISTA denies

any allegation inconsistent with its terms. INVISTA lacks sufficient information to

admit or deny the remaining allegations contained in Paragraph 56 of the FAC, and,

therefore, denies those allegations.

      57.    The International Agency for Research on Cancer’s and EPA’s review

and conclusions regarding PFOA speak for themselves, and INVISTA denies any

allegation inconsistent with their terms. INVISTA lacks sufficient information to




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admit or deny the remaining allegations contained in Paragraph 57 of the FAC, and,

therefore, denies those allegations.

      58.      The allegations of Paragraph 58 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. The

National Toxicology Program’s review and conclusions regarding PFOA and PFOS

speak for themselves, and INVISTA denies any allegation inconsistent with their

terms. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 58 of the FAC, and, therefore, denies those

allegations.

      59.      The 2016 EPA “Drinking Water Health Advisory for Perfluorooctanoic

Acid (PFOA)” and “Drinking Water Health Advisory for Perfluorooctane Sulfonate

(PFOS)” speak for themselves, and INVISTA denies any allegation inconsistent

with the Health Advisories’ terms. INVISTA lacks sufficient information to admit

or deny the remaining allegations contained in Paragraph 59 of the FAC, and,

therefore, denies those allegations.

      60.      The 2016 EPA “Drinking Water Health Advisory for Perfluorooctanoic

Acid (PFOA)” and “Drinking Water Health Advisory for Perfluorooctane Sulfonate

(PFOS)” speak for themselves, and INVISTA denies any allegation inconsistent


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with the Health Advisories’ terms. INVISTA lacks sufficient information to admit

or deny the remaining allegations contained in Paragraph 60 of the FAC, and,

therefore, denies those allegations.

      61.    The 2016 EPA “Drinking Water Health Advisory for Perfluorooctanoic

Acid (PFOA)” and “Drinking Water Health Advisory for Perfluorooctane Sulfonate

(PFOS)” speak for themselves, and INVISTA denies any allegation inconsistent

with the Health Advisories’ terms. INVISTA lacks sufficient information to admit

or deny the remaining allegations contained in Paragraph 61 of the FAC, and,

therefore, denies those allegations.

      62.    The allegations of Paragraph 62 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. The

Agency for Toxic Substances and Disease Registry’s (“ATSDR”) 2018

Toxicological Profile for Perfluoroalkyls speaks for itself, and INVISTA denies any

allegation inconsistent with the Profile’s terms.      INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 62 of

the FAC, and, therefore, denies those allegations.

      63.    ATSDR’s 2018 Toxicological Profile for Perfluoroalkyls speaks for

itself, and INVISTA denies any allegation inconsistent with the Profile’s terms.


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INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 63 of the FAC, and, therefore, denies those allegations.

      64.    The allegations of Paragraph 64 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Any state

regulatory action related to drinking water speaks for itself, and INVISTA denies

any allegation inconsistent with its terms. INVISTA lacks sufficient information to

admit or deny the remaining allegations contained in Paragraph 64 of the FAC, and,

therefore, denies those allegations.

      65.    The allegations of Paragraph 65 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. The

National Defense Authorization Act for Fiscal Year 2020 speaks for itself, and

INVISTA denies any allegation inconsistent with its terms.           INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 65 of the FAC, and, therefore, denies those allegations.

Defendants’ [Alleged] Knowledge of Toxicity and Persistence of PFAS

      66.    INVISTA denies the allegations contained in Paragraph 66 of the FAC

as they relate to INVISTA. INVISTA lacks sufficient information to admit or deny


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the remaining allegations contained in Paragraph 66 of the FAC, and, therefore,

denies those allegations.

      67.    The allegations contained in Paragraph 67 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA denies that it is a “Defendant that manufactures PFAS.”

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 67 of the FAC, and, therefore, denies those allegations.

      68.    The allegations contained in Paragraph 68 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 68 of the FAC, and, therefore, denies those allegations.

      69.    The allegations contained in Paragraph 69 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 69 of the FAC, and, therefore, denies those allegations.

      70.    The allegations contained in Paragraph 70 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 70 of the FAC, and, therefore, denies those allegations.


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      71.   The allegations contained in Paragraph 71 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 71 of the FAC, and, therefore, denies those allegations.

      72.   The allegations contained in Paragraph 72 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 72 of the FAC, and, therefore, denies those allegations.

      73.   The allegations contained in Paragraph 73 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 73 of the FAC, and, therefore, denies those allegations.

      74.   The allegations contained in Paragraph 74 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 74 of the FAC, and, therefore, denies those allegations.

      75.   The allegations contained in Paragraph 75 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response




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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 75 of the FAC, and, therefore, denies those allegations.

      76.      The allegations contained in Paragraph 76 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 76 of the FAC, and, therefore, denies those allegations.

      77.      The allegations contained in Paragraph 77 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 77 of the FAC, and, therefore, denies those allegations.

      78.      The allegations of Paragraph 78 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 78 of the FAC as they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 78 of the FAC, and, therefore, denies those

allegations.

      79.      The allegations of Paragraph 79 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to


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admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 79 of the FAC as they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 79 of the FAC, and, therefore, denies those

allegations.

      80.      The allegations of Paragraph 80 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 80 of the FAC as they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 80 of the FAC, and, therefore, denies those

allegations.

      81.      The allegations of Paragraph 81 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 81 of the FAC as they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 81 of the FAC, and, therefore, denies those

allegations.


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[Alleged] Contamination of Upper Coosa River Basin with PFAS

      82.      The allegations contained in Paragraph 82 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, the allegations of Paragraph 82 of the FAC using the broad term “PFAS”

are so vague and ambiguous that INVISTA lacks sufficient information to admit or

deny those allegations, and, therefore, denies those allegations. INVISTA further

denies the allegations contained in Paragraph 82 of the FAC that purport to extend

to INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 82 of the FAC, and, therefore, denies those

allegations.

      83.      The allegations contained in Paragraph 83 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 83 of the FAC, and, therefore, denies those allegations.

      84.      The allegations contained in Paragraph 84 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 84 of the FAC, and, therefore, denies those allegations.




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      85.      The allegations contained in Paragraph 85 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 85 of the FAC, and, therefore, denies those allegations.

      86.      The allegations of Paragraph 86 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 86 of the FAC as they relate to

INVISTA. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 86 of the FAC, and, therefore, denies those

allegations.

      87.      The allegations contained in Paragraph 87 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA denies the allegations contained in Paragraph 87 of the FAC

to the extent they purport to relate to INVISTA.         INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 87 of

the FAC, and, therefore, denies those allegations.

      88.      The allegations of Paragraph 88 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to


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admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 88 of the FAC to the extent they

purport to relate to INVISTA. INVISTA lacks sufficient information to admit or

deny the remaining allegations contained in Paragraph 88 of the FAC, and, therefore,

denies those allegations.

      89.      The allegations of Paragraph 89 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 89 of the FAC to the extent they

purport to relate to INVISTA. Any findings and conclusions of the EPA, the

University of Georgia, and/or the Georgia Environmental Protection Division speak

for themselves, and INVISTA further denies any allegation inconsistent with their

terms. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 89 of the FAC, and, therefore, denies those

allegations.

      90.      The allegations of Paragraph 90 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Any

findings and conclusions of the University of Georgia speak for themselves, and


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INVISTA denies any allegation inconsistent with their terms. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 90 of the FAC, and, therefore, denies those allegations.

      91.    Any results of the United Steelworkers Union’s sampling speak for

themselves, and INVISTA denies any allegation inconsistent with their terms.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 91 of the FAC, and, therefore, denies those allegations.

      92.    The allegations of Paragraph 92 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Any results

of Dalton Utilities’ sampling speak for themselves, and INVISTA denies any

allegation inconsistent with their terms. INVISTA lacks sufficient information to

admit or deny the remaining allegations contained in Paragraph 92 of the FAC, and,

therefore, denies those allegations.

      93.    The allegations of Paragraph 93 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Any results

of EPA sampling speak for themselves, and INVISTA denies any allegation

inconsistent with their terms. INVISTA lacks sufficient information to admit or


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deny the remaining allegations contained in Paragraph 93 of the FAC, and, therefore,

denies those allegations.

      94.    The allegations contained in Paragraph 94 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 94 of the FAC and the referenced exhibits, and, therefore,

denies those allegations.

      95.    The allegations contained in Paragraph 95 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 95 of the FAC and the referenced exhibit, and, therefore,

denies those allegations.

      96.    The allegations contained in Paragraph 96 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 96 of the FAC and the referenced exhibit, and, therefore,

denies those allegations.

      97.    The allegations contained in Paragraph 97 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response


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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 97 of the FAC and the referenced exhibit, and, therefore,

denies those allegations.

      98.    The allegations contained in Paragraph 98 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 98 of the FAC and the referenced exhibits, and, therefore,

denies those allegations.

[Alleged] PFAS Contamination of Rome Water Supply

      99.    The allegations of Paragraph 99 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 99 of the FAC, and, therefore, denies those allegations.

      100. The allegations of Paragraph 100 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 100 of the FAC, and, therefore, denies those allegations.


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      101. The allegations of Paragraph 101 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 101 of the FAC, and, therefore, denies those allegations.

      102. The allegations of Paragraph 102 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 102 of the FAC, and, therefore, denies those allegations.

      103. The allegations of Paragraph 103 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 103 of the FAC, and, therefore, denies those allegations.

      104. INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 104 of the FAC, and, therefore, denies those allegations.

      105. INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 105 of the FAC, and, therefore, denies those allegations.


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      106. INVISTA denies the allegations in Paragraph 106 of the FAC to the

extent they relate to INVISTA, and denies that Plaintiff and any putative class

members have suffered damages. INVISTA lacks sufficient information to admit or

deny the remaining allegations contained in Paragraph 106 of the FAC, and,

therefore, denies those allegations.

                        COUNT ONE:
DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)

      107. In response to Paragraph 107 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 106 above, as if fully set forth herein.

      108. The allegations contained in Paragraph 108 of the FAC are not directed

against INVISTA, and further, Paragraph 108 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the Clean Water Act

(“CWA”) speaks for itself, and INVISTA denies any allegation inconsistent with its

terms. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 108 of the FAC, and, therefore, denies those

allegations.

      109. The allegations contained in Paragraph 109 of the FAC are not directed

against INVISTA, and further, Paragraph 109 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

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itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 109 of the FAC, and, therefore, denies those allegations.

      110. The allegations contained in Paragraph 110 of the FAC are not directed

against INVISTA, and further, Paragraph 110 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA and cited

case law speak for themselves, and INVISTA denies any allegation inconsistent with

their terms. INVISTA lacks sufficient information to admit or deny the remaining

allegations contained in Paragraph 110 of the FAC, and, therefore, denies those

allegations.

      111. The allegations contained in Paragraph 111 of the FAC are not directed

against INVISTA, and further, Paragraph 111 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 111

of the FAC, and, therefore, denies those allegations.

      112. The allegations contained in Paragraph 112 of the FAC are not directed

against INVISTA, and further, Paragraph 112 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks




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sufficient information to admit or deny the allegations contained in Paragraph 112

of the FAC, and, therefore, denies those allegations.

      113. The allegations contained in Paragraph 113 of the FAC are not directed

against INVISTA, and further, Paragraph 113 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the allegations of

Paragraph 113 of the FAC using the broad term “PFAS” are so vague and ambiguous

that INVISTA lacks sufficient information to admit or deny those allegations, and,

therefore, denies those allegations.

      114. The allegations contained in Paragraph 114 of the FAC are not directed

against INVISTA, and further, Paragraph 114 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 114

of the FAC, and, therefore, denies those allegations.

      115. The allegations contained in Paragraph 115 of the FAC are not directed

against INVISTA, and further, Paragraph 115 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 115

of the FAC, and, therefore, denies those allegations.




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      116. The allegations contained in Paragraph 116 of the FAC are not directed

against INVISTA, and further, Paragraph 116 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 116

of the FAC, and, therefore, denies those allegations.

      117. The allegations contained in Paragraph 117 of the FAC are not directed

against INVISTA, and further, Paragraph 117 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 117

of the FAC and the referenced exhibits, and, therefore, denies those allegations.

      118. The allegations contained in Paragraph 118 of the FAC are not directed

against INVISTA, and further, Paragraph 118 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 118

of the FAC and the referenced exhibits, and, therefore, denies those allegations.

      119. The allegations contained in Paragraph 119 of the FAC are not directed

against INVISTA, and further, Paragraph 119 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks




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sufficient information to admit or deny the allegations contained in Paragraph 119

of the FAC, and, therefore, denies those allegations.

      120. The allegations contained in Paragraph 120 of the FAC are not directed

against INVISTA, and further, Paragraph 120 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 120

of the FAC, and, therefore, denies those allegations.

      121. The allegations contained in Paragraph 121 of the FAC are not directed

against INVISTA, and further, Paragraph 121 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 121

of the FAC, and, therefore, denies those allegations.

                        COUNT TWO:
     DISCHARGES OF NON-STORMWATER CONTAINING PFAS IN
      VIOLATION OF NPDES GENERAL STORMWATER PERMIT

      123. In response to Paragraph 123 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 122 above, as if fully set forth herein.

      124. The allegations contained in Paragraph 124 of the FAC are not directed

against INVISTA, and further, Paragraph 124 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for


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itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 124 of the FAC, and, therefore, denies those allegations.

      125. The allegations contained in Paragraph 125 of the FAC are not directed

against INVISTA, and further, Paragraph 125 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 125 of the FAC, and, therefore, denies those allegations.

      126. The allegations contained in Paragraph 126 of the FAC are not directed

against INVISTA, and further, Paragraph 126 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 126 of the FAC, and, therefore, denies those allegations.

      127. The allegations contained in Paragraph 127 of the FAC are not directed

against INVISTA, and further, Paragraph 127 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks




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sufficient information to admit or deny the allegations contained in Paragraph 127

of the FAC and the referenced exhibits, and, therefore, denies those allegations.

      128. The allegations contained in Paragraph 128 of the FAC are not directed

against INVISTA, and further, Paragraph 128 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 128

of the FAC, and, therefore, denies those allegations.

      129. The allegations contained in Paragraph 129 of the FAC are not directed

against INVISTA, and further, Paragraph 129 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 129

of the FAC, and, therefore, denies those allegations.

      130. The allegations contained in Paragraph 130 of the FAC are not directed

against INVISTA, and further, Paragraph 130 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 130

of the FAC, and, therefore, denies those allegations.




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                          COUNT THREE:
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
  IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON UTLITIES’
 SEWER USE RULES AND REGULATIONS, AND THE CLEAN WATER
                                  ACT
       (Defendant Dalton/Whitfield Regional Solid Waste Authority)

      131. In response to Paragraph 131 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 130 above, as if fully set forth herein.

      132. The allegations contained in Paragraph 132 of the FAC are not directed

against INVISTA, and further, Paragraph 132 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 132 of the FAC, and, therefore, denies those allegations.

      133. The allegations contained in Paragraph 133 of the FAC are not directed

against INVISTA, and further, Paragraph 133 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 133 of the FAC, and, therefore, denies those allegations.

      134. The allegations contained in Paragraph 134 of the FAC are not directed

against INVISTA, and further, Paragraph 134 contains legal conclusions. Therefore,

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no response is required. To the extent a response is required, EPA regulations speak

for themselves, and INVISTA denies any allegation inconsistent with their terms.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 134 of the FAC, and, therefore, denies those allegations.

      135. The allegations contained in Paragraph 135 of the FAC are not directed

against INVISTA, and further, Paragraph 135 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the referenced statute

and regulations speak for themselves, and INVISTA denies any allegation

inconsistent with their terms. INVISTA lacks sufficient information to admit or

deny the remaining allegations contained in Paragraph 135 of the FAC, and,

therefore, denies those allegations.

      136. The allegations contained in Paragraph 136 of the FAC are not directed

against INVISTA, and further, Paragraph 136 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the referenced

regulations speak for themselves, and INVISTA denies any allegation inconsistent

with their terms. INVISTA lacks sufficient information to admit or deny the

remaining allegations contained in Paragraph 136 of the FAC, and, therefore, denies

those allegations.




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      137. The allegations contained in Paragraph 137 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 137 of the FAC, and, therefore, denies those allegations.

      138. The allegations contained in Paragraph 138 of the FAC are not directed

against INVISTA, and further, Paragraph 138 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, the CWA speaks for

itself, and INVISTA denies any allegation inconsistent with its terms. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 138 of the FAC, and, therefore, denies those allegations.

      139. The allegations contained in Paragraph 139 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 139 of the FAC, and, therefore, denies those allegations.

      140. The allegations contained in Paragraph 140 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 140 of the FAC, and, therefore, denies those allegations.




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      141. The allegations contained in Paragraph 141 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 141 of the FAC and the referenced exhibits, and, therefore,

denies those allegations.

      142. The allegations contained in Paragraph 142 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 142 of the FAC and the referenced exhibits, and, therefore,

denies those allegations.

      143. The allegations contained in Paragraph 143 of the FAC are not directed

against INVISTA, and further, Paragraph 143 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 143

of the FAC, and, therefore, denies those allegations.

      144. The allegations contained in Paragraph 144 of the FAC are not directed

against INVISTA, and further, Paragraph 144 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks




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sufficient information to admit or deny the allegations contained in Paragraph 144

of the FAC, and, therefore, denies those allegations.

      145. The allegations contained in Paragraph 145 of the FAC are not directed

against INVISTA, and further, Paragraph 145 contains legal conclusions. Therefore,

no response is required. To the extent a response is required, INVISTA lacks

sufficient information to admit or deny the allegations contained in Paragraph 145

of the FAC, and, therefore, denies those allegations.

                             CLASS ALLEGATIONS

      146. In response to Paragraph 146 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 145 above, as if fully set forth herein.

      147. Paragraph 147 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 147 of the FAC.

      148. The allegations of Paragraph 148 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

denies the allegations contained in Paragraph 148 of the FAC as they relate to

INVISTA and denies that Plaintiff and putative class members have been damaged.




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INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 148 of the FAC, and, therefore, denies those allegations.

      149. The allegations contained in Paragraph 149 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA admits that Plaintiff purports to bring a class action as

described in Paragraph 149 of the FAC. INVISTA denies that a class is legally

permissible or appropriate and denies all other allegations in Paragraph 149.

      All water subscribers (ratepayers) with the Rome Water and Sewer
      Division and/or the Floyd County Water Department

      150. The allegations contained in Paragraph 150 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA admits that Plaintiff purports to exclude members from the

putative class as described in Paragraph 150 and its subparts. INVISTA denies that

a class is legally permissible or appropriate and denies all other allegations in

Paragraph 150.

      151. The allegations contained in Paragraph 151 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA admits that Plaintiff purports to reserve his rights regarding

the definition of the putative class in Paragraph 151 of the FAC. INVISTA denies




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that a class is legally permissible or appropriate and denies all other allegations in

Paragraph 151.

                                    Numerosity

      152. Paragraph 152 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 152.

      153. INVISTA denies that a class is legally permissible or appropriate.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 153 of the FAC, and, therefore, denies those allegations.

                                     Typicality

      154. Paragraph 154 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 154.

                             Adequate Representation

      155. Paragraph 155 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 155.

      156. The allegations contained in Paragraph 156 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response


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is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 156 of the FAC, and, therefore, denies those allegations.

                Predominance of Common Questions of Law and Fact

          157. Paragraph 157 of the FAC and each of its subparts state legal

conclusions to which no response is required. To the extent a response is required,

INVISTA denies that a class is legally permissible or appropriate and denies all other

allegations in Paragraph 157 and each of its subparts.

          158. Paragraph 158 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 158.

          Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief

          159. Paragraph 159 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 159

including that Plaintiff and putative class members are entitled to the requested

relief.

          160. Paragraph 160 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 160.


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                                     Superiority

      161. Paragraph 161 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 161.

      162. Paragraph 162 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies that a class is

legally permissible or appropriate and denies all other allegations in Paragraph 162.

                            COUNT FOUR:
  WILLFUL, WANTON, RECKLESS, OR NEGLIGENT MISCONDUCT
  (All Defendants Except Dalton Utilities, Invista, 3M, Daikin, DuPont, &
                               Chemours)

      163. In response to Paragraph 163 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 162 above, as if fully set forth herein.

      164. Count Four is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 164 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 164 of the FAC, and, therefore, denies those allegations.

      165. Count Four is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 165 of the FAC as to INVISTA.

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INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 165 of the FAC, and, therefore, denies those allegations.

      166. Count Four is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 166 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 166 of the FAC, and, therefore, denies those allegations.

      167. Count Four is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 167 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 167 of the FAC, and, therefore, denies those allegations.

      168. Count Four is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 168 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 168 of the FAC, and, therefore, denies those allegations.




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                             COUNT FIVE:
                         NEGLIGENCE PER SE
 (All Defendants Except Dalton Utilities, 3M, DuPont, Chemours, Invista, &
                                 Daikin)

      169. In response to Paragraph 169 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 168 above, as if fully set forth herein.

      170. Count Five is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 170 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 170 of the FAC, and, therefore, denies those allegations.

      171. Count Five is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 171 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 171 of the FAC, and, therefore, denies those allegations.

      172. Count Five is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 172 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 172 of the FAC, and, therefore, denies those allegations.

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      173. Count Five is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 173 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 173 of the FAC, and, therefore, denies those allegations.

      174. Count Five is not applicable to INVISTA based on the September 20,

2021 Order from this Court granting in part INVISTA’s Motion to Dismiss.

INVISTA thus denies the allegations in Paragraph 174 of the FAC as to INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 174 of the FAC, and, therefore, denies those allegations.

                                 COUNT SIX:
                             PUNITIVE DAMAGES
                     (All Defendants Except Dalton Utilities)

      175. In response to Paragraph 175 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 174 above, as if fully set forth herein.

      176. Paragraph 176 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 176 of the FAC as they relate to INVISTA. The Court’s

September 20, 2021 Order on Defendants’ Motions to Dismiss decided that

INVISTA does not owe a duty to Plaintiff or putative class members. INVISTA


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lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 176 of the FAC, and, therefore, denies those allegations.

      177. Paragraph 177 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 177 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 177 of the FAC, and, therefore, denies those allegations.

      178. Paragraph 178 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 178 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 178 of the FAC, and, therefore, denies those allegations.

      179. Paragraph 179 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 179 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 179 of the FAC, and, therefore, denies those allegations.

      180. Paragraph 180 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations


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contained in Paragraph 180 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 180 of the FAC, and, therefore, denies those allegations.

      181. Paragraph 181 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 181 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 181 of the FAC, and, therefore, denies those allegations.

      182. Paragraph 182 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 182 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 182 of the FAC, and, therefore, denies those allegations.

      183. Paragraph 183 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 183 of the FAC as they relate to INVISTA and denies that

Plaintiff and putative class members are entitled to the requested relief. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 183 of the FAC, and, therefore, denies those allegations.


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                                COUNT SEVEN:
                              PUBLIC NUISANCE
                     (All Defendants Except Dalton Utilities)

      184. In response to Paragraph 184 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 183 above, as if fully set forth herein.

      185. The allegations of Paragraph 185 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. INVISTA

lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 185 of the FAC, and, therefore, denies those allegations.

      186. The allegations of Paragraph 186 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

186 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 186 of the FAC as they relate to INVISTA. INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 186

of the FAC, and, therefore, denies those allegations.

      187. The allegations of Paragraph 187 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to


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admit or deny those allegations, and, therefore, denies those allegations. Paragraph

187 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 187 of the FAC as they relate to INVISTA. INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 187

of the FAC, and, therefore, denies those allegations.

      188. The allegations of Paragraph 188 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

188 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 188 of the FAC as they relate to INVISTA. INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 188

of the FAC, and, therefore, denies those allegations.

      189. The allegations of Paragraph 189 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

189 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in


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Paragraph 189 of the FAC as they relate to INVISTA and denies that Plaintiff and

putative class members have experienced harm.           INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 189

of the FAC, and, therefore, denies those allegations.

      190. The allegations of Paragraph 190 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

190 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 190 of the FAC as they relate to INVISTA and denies that Plaintiff and

putative class members have suffered damages, including special damages.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 190 of the FAC, and, therefore, denies those allegations.

      191. The allegations of Paragraph 191 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

191 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 191 of the FAC as they relate to INVISTA. INVISTA lacks sufficient


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information to admit or deny the remaining allegations contained in Paragraph 191

of the FAC, and, therefore, denies those allegations.

      192. The allegations of Paragraph 192 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

192 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 192 of the FAC as they relate to INVISTA and denies that Plaintiff and

putative class members have experienced losses.         INVISTA lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 192

of the FAC, and, therefore, denies those allegations.

      193. The allegations of Paragraph 193 of the FAC using the broad term

“PFAS” are so vague and ambiguous that INVISTA lacks sufficient information to

admit or deny those allegations, and, therefore, denies those allegations. Paragraph

193 of the FAC further states legal conclusions to which no response is required. To

the extent a response is required, INVISTA denies the allegations contained in

Paragraph 193 of the FAC as they relate to INVISTA and denies that Plaintiff and

putative class members have experienced damages. INVISTA lacks sufficient




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information to admit or deny the remaining allegations contained in Paragraph 193

of the FAC, and, therefore, denies those allegations.

                           COUNT EIGHT:
                       CLAIMS FOR ABATEMENT
                 AND INJUNCTION OF PUBLIC NUISANCE

      194. In response to Paragraph 194 of the FAC, INVISTA incorporates by

reference its response to Paragraphs 1 through 193 above, as if fully set forth herein.

      195. Paragraph 195 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 195 of the FAC as they relate to INVISTA. INVISTA lacks

sufficient information to admit or deny the remaining allegations contained in

Paragraph 195 of the FAC, and, therefore, denies those allegations.

      196. The allegations contained in Paragraph 196 of the FAC are not directed

against INVISTA, and, therefore, no response is required. To the extent a response

is required, INVISTA lacks sufficient information to admit or deny the allegations

contained in Paragraph 196 of the FAC and the referenced exhibits, and, therefore,

denies those allegations.

      197. Paragraph 197 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 197 of the FAC as they relate to INVISTA. INVISTA lacks


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sufficient information to admit or deny the remaining allegations contained in

Paragraph 197 of the FAC, and, therefore, denies those allegations.

      198. INVISTA denies the allegations contained in Paragraph 198 of the FAC

as they relate to INVISTA and further denies that Plaintiff is entitled to the relief

requested or to any relief against INVISTA. INVISTA lacks sufficient information

to admit or deny the remaining allegations contained in Paragraph 198 of the FAC,

and, therefore, denies those allegations.

      199. INVISTA denies the allegations contained in Paragraph 199 of the FAC

as they relate to INVISTA and further denies that Plaintiff is entitled to the relief

requested or to any relief against INVISTA. INVISTA lacks sufficient information

to admit or deny the remaining allegations contained in Paragraph 199 of the FAC,

and, therefore, denies those allegations.

      200. Paragraph 200 of the FAC states legal conclusions to which no response

is required. To the extent a response is required, INVISTA denies the allegations

contained in Paragraph 200 of the FAC as they relate to INVISTA and further denies

that Plaintiff is entitled to the relief requested or to any relief against INVISTA.

INVISTA lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 200 of the FAC, and, therefore, denies those allegations.




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      201. In response to the unnumbered paragraph following Paragraph 200 of

the FAC, and each of its subparts, INVISTA denies that Plaintiff is entitled to the

relief requested, denies that class treatment is legally permissible or appropriate,

denies that Plaintiff is entitled to punitive damages, attorneys’ fees or other fees, and

denies that Plaintiff is entitled to any relief against INVISTA. INVISTA further

denies any allegations in the unnumbered paragraph following Paragraph 200 of the

FAC, and each of its subparts, as they relate to INVISTA.

      202. INVISTA denies each and every allegation contained in the FAC not

expressly admitted herein.

                         TRIAL BY JURY IS DEMANDED

      WHEREFORE, INVISTA denies any and all liability to Plaintiff and putative

class members, and respectfully prays that the Court enter judgment in its favor,

dismiss the FAC in its entirety, declare that this action may not be maintained as a

class action under Rule 23, and award INVISTA its costs and attorneys’ fees

incurred in defending this matter, and such other and further relief as the Court

deems just and proper.




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Submitted this 1st day of February, 2022.

                         Respectfully submitted,

                         /s/ Alexandra B. Cunningham
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                         Attorneys for      Defendant   INV   Performance
                         Surfaces, LLC




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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

         I hereby certify that this document was prepared using 14-point Times New

Roman font, and that it complies with the margin and type requirements of this

Court.

                                              /s/ Alexandra B. Cunningham
                                              Alexandra B. Cunningham




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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of February 2022, I filed a true and correct

copy of the foregoing document via the Court’s electronic-filing system, which will

send electronic notification of such filing to all counsel-of-record in this action.

                                               /s/ Alexandra B. Cunningham
                                               Alexandra B. Cunningham




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